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                               EXHIBIT 4
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                       IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                               IN AND FOR ORANGE COUNTY, FLORIDA

        STUDIO 41, LLC,

               Plaintiff,

        vs.                                                       Case No. __________________

        ART PORT, LLC,

               Defendant.
                                                      /

                               COMPLAINT AND DEMAND FOR JURY TRIAL

               Plaintiff Studio 41, LLC (“Studio 41”) sues Defendant Art Port, LLC (“Art Port”) and

        alleges:

                                        Jurisdiction, Parties, and Venue

               1.      This is an action for damages in excess of $30,000.00, exclusive of interest, costs,

        and attorney’s fees.

               2.      Studio 41 is a Delaware limited liability company with its principal place of

        business located at 41 Court Street, Belfast, ME 04915.

               3.      Art Port is a New York limited liability company with its principal place of business

        located at 466 Piermont Avenue, Piermont, NY 10968.

               4.      This Court has general jurisdiction of Art Port based on the marketing and sale of

        its services in the state and has specific jurisdiction, because Art Port knowingly agreed Florida

        law controlled the contract and disputes arising therefrom.

               5.      Venue is proper in Orange County, Florida, because this action arises from a breach

        of contract and Section 12.8 of the contract reads: “[a]ny action related to this Agreement shall be

        brought exclusively in a Court of competent jurisdiction in Orange County, Florida.”
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                                          General Allegations

          6.      On February 1, 2019, the parties entered into a Portfolio Marketing and

   Management Agreement (the “Agreement”) whereby Art Port agreed to provide marketing and

   management of certain pieces of art (the “Art”). A true and correct copy of the Agreement is

   attached as Exhibit “A.”

          7.      Section 9.5 of the Agreement reads: “both a monthly report of any sales, and

   payment thereof as due [Studio] 41, shall be made by Art Port to [Studio] 41 for the preceding

   calendar month no later than the twenty‐fifth (25th) day of the immediately following month.”

          8.      Furthermore, Section 9.5 provides:

          Timeliness of monthly sales reports and payments shall be of the essence with regard
          to performance hereunder by Art Port. Any occurrence of three (3) or more failures
          by Art Port during any calendar year, or any continuing default beyond one (1) month
          from the date on which such report or payment was required, during the Term shall
          represent a de facto default by Art Port, upon which default [Studio] 41 may, at its
          sole option, declare a Termination.

          9.      Art Port failed in multiple respects, but specifically breached the Agreement due to

   one continuing default beyond one month.

          10.     On May 18, 2020, Studio 41 exercised its right under section 9.5 of the Agreement

   to immediately declare a termination and demanded the return of its Art (the “Termination Letter”).

   A true and correct copy of the Termination Letter is attached as Exhibit “B.”

          11.     Section 5.9 of the Agreement outlines post-termination obligations including the

   return of the Art and any databases, images, or intellectual property.

          12.     Notwithstanding Studio 41’s Termination Letter and Art Port’s admission “the

   March and April reporting were late,” Art Port refuses to acknowledge the Agreement has been

   terminated, refuses to return the Art, and refuses to return any databases, images, or intellectual

   property.

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                                   COUNT I – Breach of Contract
                                  (Damages and Injunctive Relief)

          13.    Studio 41 reasserts and incorporates the allegations contained in paragraphs 1

   through 12.

          14.    In exchange for good and valuable consideration, the parties entered into the

   Agreement.

          15.    Section 9.5 of the Agreement reads: “both a monthly report of any sales, and

   payment thereof as due [Studio] 41, shall be made by Art Port to [Studio] 41 for the preceding

   calendar month no later than the twenty‐fifth (25th) day of the immediately following month.”

          16.    Art Port breached the Agreement by failing to submit the required reports within

   one month.

          17.    The breach of contract is material and detrimental to Studio 41, and the parties

   agreed time was of the essence.

          18.    As a direct and proximate result of Art Port’s breach of contract, Studio 41 has been

   damaged in an amount to be determined at trial, but no less than $30,000.

          19.    Section 12.12 of the Agreement reads:

          Injunctive relief. The Parties expressly agree their respective responsibilities
          pursuant to this Agreement are of a special, unique, and intellectual character,
          which gives them peculiar value, and which directly impact, and threaten to
          irreparably damage, or diminish the value of, the Art, or the reputation of the Artist
          and Art Port. In the event of a breach by any Party of any material term, condition,
          covenant, warranty, or representation herein, the Parties agree that the non‐
          breaching Party shall be caused [irreparable] harm for which the remedy at law is
          inadequate. Accordingly, the Parties expressly agree that the non‐breaching Party
          shall be entitled to preliminary and permanent injunctive relief, mandatory or
          otherwise.

          20.    Art Port breached a material term of the Agreement, and Studio 41 will suffer

   irreparable harm unless Art Port immediately returns the Art.


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          WHEREFORE, Studio 41 respectfully requests this Court enter judgment in Studio 41’s

   favor and against Art Port and order:

                 a. Art Port immediately return the Art to Studio 41;

                 b. Art Port provide Studio 41 any databases, images, or intellectual property;

                 c. Art Port pay to Studio 41 damages in an amount to be determined at trial;

                 d. Art Port pay Studio 41’s reasonable attorney’s fees pursuant to the Agreement; and

                 e. all other relief the Court deems just and proper.

                     COUNT II – DECLARATORY AND INJUNCTIVE RELIEF

          21.       Studio 41 reasserts and incorporates the allegations contained in paragraphs 1

   through 12.

          22.       This action is brought pursuant to Chapter 86, Florida Statutes, for a declaration

   Studio 41 has terminated the Agreement, and Art Port must immediately return the Art along with

   and any databases, images, or intellectual property.

          23.       The plain language of Section 9.5 of the Agreement provides “both a monthly

   report of any sales, and payment thereof as due [Studio] 41, shall be made by Art Port to [Studio]

   41 for the preceding calendar month no later than the twenty‐fifth (25th) day of the immediately

   following month.”

          24.       Section 9.5 of the Agreement makes clear “[t]imeliness of monthly sales reports

   and payments shall be of the essence with regard to performance hereunder by Art Port. [And]

   any continuing default beyond one (1) month from the date on which such report or payment was

   required, during the Term shall represent a de facto default by Art Port, upon which default 41

   may, at its sole option, declare a Termination.


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          25.     Art Port failed to provide timely reports, and at least one report was more than one

   month late.

          26.     On May 18, 2020, Studio 41 exercised its right under section 9.5 of the Agreement

   to immediately declare a termination; however, Art Port refuses to acknowledge the Agreement

   has been terminated, refuses to return the Art, and refuses to comply with its post termination

   obligations.

          27.     Section 12.12 of the Agreement reads:

          Injunctive relief. The Parties expressly agree their respective responsibilities
          pursuant to this Agreement are of a special, unique, and intellectual character,
          which gives them peculiar value, and which directly impact, and threaten to
          irreparably damage, or diminish the value of, the Art, or the reputation of the Artist
          and Art Port. In the event of a breach by any Party of any material term, condition,
          covenant, warranty, or representation herein, the Parties agree that the non‐
          breaching Party shall be caused [irreparable] harm for which the remedy at law is
          inadequate. Accordingly, the Parties expressly agree that the non‐breaching Party
          shall be entitled to preliminary and permanent injunctive relief, mandatory or
          otherwise.
          28.

          29.     There is an immediate and present controversy between Studio 41 and Art Port and

   there is doubt concerning the nature of their legal relations and their respective rights related to the

   Agreement.

          30.     Under these facts and circumstances, Studio 41 is in doubt concerning its rights and

   obligations regarding the Agreement and the effect of its Termination Letter.

          31.     There is a present need for declaratory and injunctive relief, because Studio 41 and

   Art Port disagree with the other’s position regarding the termination, and the parties are entitled to

   have a resolution of these issues finally declared and established.

          32.     Furthermore, there is a bona fide, actual, present practical need for a declaration,

   which will deal with a present, ascertained state of facts and controversy.


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        WHEREFORE, Studio 41 respectfully requests this Honorable Court:

            a. declare Art Port breached the Agreement;

            b. declare Studio 41 properly terminated the Agreement on May 18, 2020;

            c. order Art Port to immediately return the Art along with and any databases, images,

                or intellectual property to Studio 41;

            d. order Art Port pay to Studio 41 damages in an amount to be determined at trial;

            e. order Art Port pay Studio 41’s reasonable attorney’s fees pursuant to the

                Agreement; and

            f. all other relief the Court deems just and proper.

        Respectfully submitted this 3rd day of June, 2020,

                                              /s/ Jason Zimmerman
                                              Jason Zimmerman
                                              Florida Bar No. 104392
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                                     Attorneys for Plaintiff




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                                PORTFOLIO MARKETING AND MANAGEMENT AGREEMENT

     THIS PORTFOLIO MARKETING AND MANAGEMENT AGREEMENT (Agreement), is made effective February 01,
     2019 (Effective Date), by and between ART PORT, LLC, a New York limited liability company (Art Port); STUDIO
     41 LLC, a Delaware limited liability company (41); and with, and for the services, of Harold Garde (Artist);
     any of which may hereinafter be referenced as Party, or, in combination or collectively, as the Parties.
     WHEREAS, Art Port, 41, and Artist had previously entered into an agreement effective November 22, 2013,
     which terminated January 01, 2017; and
     WHEREAS, 41 and Artist wish to engage Art Port, and Art Port wishes to provide its services, on new terms
     and conditions, as set forth in this Agreement, to provide marketing and management of the Art.
     NOW, THEREFORE, upon the terms and conditions contained herein, the Parties agree as follows:
                                                    SECTION 1. DEFINITIONS
     When used in this Agreement, the following terms shall have the meanings set forth below. Terms not spe
     cifically defined herein shall be construed in accordance with the meaning and understanding given such
     terms in the respective trades or businesses of the Parties. To the extent italicized terms bearing Proper Case
     appear in this Agreement but are not defined in the Preamble or this Section 1, such terms shall have the
     meaning set forth elsewhere in this Agreement.
          Affiliates means (i) any Person that directly or indirectly, through one or more intermediaries, controls,
     is controlled by, or is under common control with, or owns a greater than a fifty percent (50%) interest in
     another Person; (ii) any Person that has participated, or participates, with, or funded, or funds, the efforts
     of, Art Port prior to this Agreement or during its Term, during which time Art Port had, or has, possession of
     Art; and (iii) a spouse, parent, sibling, or issue of such Person.
          Allowable Expenses means the proper and reasonable expenses incurred by Art Port for the services ren
     dered pursuant to this Agreement for its representation of the Artist and Art, including (i) expenses directly
     related to the Art for framing, restoration and conservation, shipping, insurance, and storage; consulting
     costs paid to any issue of the Artist; or costs paid for revisions and changes to www.HaroldGarde.com,
     both prior to the Effective Date of this Agreement; curatorial and consulting services; creation and mainte
     nance of the Database including photography of the Art; catalogs and similar publications (but only alloca
     ble to the Artist or Art, if such publications include multiple artists or works of art); costs associated with a
     public exhibition of Art (authorized by the Artist or 41) at which the Art is not for sale; and similar expenses
     typical in the trade of representing artists and their work, offset for the tax benefits gained by Art Port for
     the deduction of such expenses; but excluding (ii) (a) any expenses set forth in (i) which have been deducted
     from Purchase Prices in determining Profits, and (b) venue, entry, or related costs for showing the Art, hold
     ing events, or maintaining, renting, or operating space or websites in which to exhibit the Art for sale or
     reference, including ArtSuite New York Studio & Gallery and similar venues, travel expenses (not directly
     related to the business of representing the Artist or Art), business insurance (but not the cost of insurance
     on shipment of the Art or Art in storage if paid by Art Port), salaries to Art Port staff not involved in curating,
     photographing, compiling, or maintaining the Database (and then only for such allocation of time actually
     spent in performing such tasks), legal costs, and operating costs of the general business of Art Port.
          Art means all original art works, including paintings and drawings on canvas, board, and paper (in
     cluding Strappos), created by the Artist during his career through the Effective Date, and including similar
     works Artist may create during the Term. Art excludes: (i) works by the Artist that are owned, whether by
     gift or sale, as of the Effective Date, by third parties not a named Party to this Agreement, including in third
     parties, any descendants of Artist other than his direct issue; (ii) works of art, created by the Artist, held by
     any issue of the Artist, which were acquired by them through a bona fide purchase or were received from
     a third party who acquired the work(s) through a bona fide purchase; (iii) bound journals or sketchbooks,
     and similar works created by Artist prior to or during the Term; and (iv) other works created by Artist prior
     to, or during, the Term, such as works of poetry, plays, writings, and videography created of, or by, the
     Artist.
          Art Description means a description of a work of Art, including, at a minimum, its title, if titled, or, if
     not titled, an image description; size; substrate; media; condition (very fine, fine, good, or poor), and suffi
     cient photographs to reasonably allow the Parties to identify the Art and ascertain its condition.
          Clientele means private collectors and collections, galleries, curators, museums, public collections, art
     exhibits, retailers, wholesale and auction houses, Internet portals and web sites, private showings, personal
     introductions and referrals, and other users and consumers of Art, including, as applicable, their directors
     and staff members, whether such Clientele emanate from, or through, Art Port, the Artist or his issue.
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          Database means a catalog of the Art compiled using tools and software generally available for art cata
     loging within the trade, such as ArtBase, or similar software.
          Execution Date means the date on which the last of the Parties shall have executed this Agreement.
          Franchise Work means a work of Art, designated by 41 as set forth in EXHIBIT A, incorporated herein by
     reference, and which Franchise Work is not available for sale, except as set forth in Section 5.4(b).
          Free Agent Work means any work of Art within the domiciles of the Artist or his issue as of the Effective
     Date, which Art is not designated as a Franchise Work, and which such Free Agent Works may not (a) exceed
     eighty (80) works in any one domicile and (b) all of which Free Agent Works must, at all times during the
     Term, be kept within the personal quarters of the Artist or his issue and not permitted to be displayed in
     areas devoted to other uses such as renting of rooms. Free Agent Works shall, at all times during the Term,
     be available for viewing, loan, or sale, but only pursuant to the specific terms and conditions of this Agree
     ment. No more than twenty four (24) Free Agent Works from the combined total of Free Agent Works held
     collectively by all of the issue of the Artist may be subject to any combination of Loan Agreements at any
     time during the Term, unless otherwise expressly agreed in advance in writing by the Artist or 41.
          Gift Agreement means a bona fide written agreement, pursuant to which agreement Art is gifted for a
     Private or Public Purpose, as set forth in Section 7.
          Gross proceeds means the total consideration paid for Art, including Sales Taxes, shipping, preparation,
     handling, or other direct or indirect amounts, paid by a purchaser to any named Party to this Agreement.
          Initial Recovery Amount means Allowable Expenses of Five Hundred Thousand Dollars ($500,000).
          Legacy Work means a work of Art designated by Art Port as set forth in EXHIBIT A, incorporated herein
     by reference, that shall, during the Term, always be available for sale, as set forth in this Agreement, and
     which cannot be gifted without the advance written approval of Art Port.
          Loan Agreement means a bona fide written agreement to lend Art, which Loan Agreement shall specify
     the terms and conditions of such loan, including, but not limited to, identification of the lender and bor
     rower, and (i) agreement that (a) the loan of Art is a loan, (b) the Art is, at all times, owned by 41, and (c) is
     returnable promptly upon the request of Art Port or the lender (if not Art Port) without dispute, offset, or
     question; (ii) arrangements for transfer to, holding during the term of the loan, and return from, the bor
     rower, including with specificity, the date upon which the Art shall be returned to Art Port and thereafter,
     if applicable, to the Artist, his issue, or any third party (which third party owned work shall not be Art, as
     defined herein); and (iii) agreement that, while in possession of the borrower, the Art (or art) shall be fully
     insured for its Market Price (at its date of lending) by either insurance procured as set forth in this Agreement
     or the borrower.
          Market Price of a work of Art means the amount reasonably determined by Art Port, and entered into
     the Database, at which Art Port expects a work of Art to sell. If the Market Price for a work of Art has not yet
     been determined, its Market Price will be determined from the Market Price of comparable works of Art.
          Net Recovery Amount means the Allowable Expenses, upon a termination not caused by a default by Art
     Port, equal to the sum of the Initial Recovery Amount plus any Recovery Amount plus any Reimbursable Costs
     not yet recovered from Profit shares paid to 41 less any and all Profit received by, or owed to, Art Port during
     the Term. For clarity, any Profit Split, as such term was previously used by the Parties, received by Art Port
     in periods prior to this Agreement shall not be included in Profit.
          Person means an individual, LLC, partnership, corporation, trust, estate, or other entity.
          Private Purpose means a use, sale, loan, or gift of Art for a purpose other than a Public Purpose.
          Profit means the net amount remaining from the Purchase Price received for Art subject to this Agree
     ment, after reduction of any proper and reasonable out of pocket expenses of the seller, documented on or
     before reporting of (and directly related to) such sale, including reasonable costs (which shall not, unless
     otherwise approved by 41, represent more than ten percent (10.0%) of the Purchase Price) incurred for: (w)
     retrieving Art, by Art Port, from a remote location if not in possession of Art Port; (x) credit card processing
     or foreign exchange costs incurred to collect Gross Proceeds; (y) crating and shipping to purchaser, including
     insuring Art in transit, but only as incurred for that Art during transit; and (z) restoring, repairing, framing,
     or otherwise preparing the Art required to effect the purchase, which such costs shall be excluded from the
     Purchase Price in determining Profit hereunder, and, if such expenses are incurred by Art Port, shall be re
     moved from any accounting for, or determination of, the Net Recovery Amount.
          Public Purpose means a use, sale, loan, or gift of Art, including a donation to a recognized charitable
     entity; an acquisition by an accredited museum; or a sale, loan, or gift to a third party entity, which, as part
     of the Sales, Loan, or Gift Agreement, agrees to display the Art in a desirable, publicly accessible space; the
     underlying purpose of which is to strategically enhance the perceived importance, value, and/or awareness
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     of the Art or Artist among the general public and/or preserve works of Art believed by the Parties to be
     seminally important Art, or believed to be Art that should be available to the general public.
          Purchase Offer means a notice provided to 41 of a bona fide offer by a purchaser for a Free Agent Work,
     which offer is below the Market Price for that work of Art, which notice must include sufficient details of
     the proposed purchase, including (a) Art Description; (b) the Art’s Market Price and the Purchase Price at, and,
     if applicable, terms upon, which the sale is proposed; (c) pertinent information about the purchaser; and
     (iv) the reason(s) for requesting an approval of a sales amount below the Art’s Market Price.
          Purchase Price of Art means the Gross Proceeds less Sales Taxes, if applicable, received from a purchaser
     in an arm’s length bona fide sale of the Art. For clarity, a commission paid to, or retained by, an art gallery
     not affiliated with Art Port or its Affiliates, which sells a work of Art, shall be excluded from Gross Proceeds
     and the determination of the Purchase Price of Art.
          Recovery Amount means any Allowable Expense expended by Art Port over and above the Initial Recovery
     Amount, whether such amounts were, or are, expended by Art Port, in periods preceding, or during, the
     Term, subject to the procedures set forth in this Agreement for Art Port to calculate the Net Recovery Amount.
          Reimbursable Cost means any amount expended by Art Port that, pursuant to this Agreement, was a cost
     for which 41 was responsible, but which was paid by Art Port in lieu of 41.
          Restricted Category means any Genre, Movement or Series, or decade, of the Art, each of which is defined
     as follows: (i) Genre means a particular style, including a substrate or media, e.g., board, canvas, paper,
     including Strappos, works in acrylic or oil, or multiple works created to be one piece, i.e., diptychs, triptychs,
     etc.; (ii) Movement or Series means any specific movement or artistic period of the Artist, e.g., abstract ex
     pressionism, pinnacles, kimonos, puppets, jazz, still life works, sightings, chairs, etc.; and (iii) decades
     means all works dated, or, if not dated, reasonably believed to have been created, in a specific decade,
     delineated as follows: 1940 49, 1950 59, 1960 69, 1970 79, 1980 89, 1990 99, 2000 09, 2010 19, and 2020 29.
          Sales Agreement means a written agreement for the purchase of Art that sets forth, at a minimum, the
     Art Description; Gross Proceeds, including an itemization of Sales Taxes or other costs charged or included;
     any terms and conditions covering the sale; and which identifies the purchaser.
          Sales Taxes means such additional amount as was, or should have been, collected from a purchaser of
     Art, and which is required to be paid to the jurisdiction in which such sale is required to be recognized,
     including legislative changes, if any, arising from Wayfair v. South Dakota.
          Strappo means an acrylic work created on glass by the Artist, which work is, after completion, trans
     ferred by the Artist, generally to paper, or other substrates, including, but not limited to, canvas or board.
          Start Date means the date on which 41 has received notice from Art Port that it has inspected the storage
     facilities maintained by the Artist in Belfast, Maine and New Smyrna Beach, Florida, and reasonably deter
     mined that the contents therein have not significantly deteriorated such that the Art would be unusable in
     its present condition for the purposes of fulfilling its services pursuant to this Agreement. In the event Art
     Port shall not have completed its inspection within three (3) weeks from the Execution Date, Art Port shall
     automatically accept all Art in storage, as is, without regard to its actual condition, and this Agreement shall
     commence without opportunity for Art Port to terminate on the basis of condition of the Art in storage.
          Term shall have the meaning set forth in Section 3.3.
          Termination means a termination of this Agreement caused by a default by Art Port.
                             SECTION 2. PRIOR AGREEMENT AND GENERAL SCOPE OF ENGAGEMENT
         2.1 The Parties agree and stipulate that any and all prior agreements between Art Port, 41, the Artist,
     Elissa Garde Joia and Keith Garde, are null and void and shall have no effect upon, or referential basis to,
     the performance or interpretation, of this Agreement. All of the parties to the prior agreements are Parties to
     this Agreement and agree that any and all understandings with regard to any prior agreements have, to the
     maximum extent necessary, been incorporated into this Agreement. The Parties agree that no Party shall
     bring a suit or other action against any other Party to this Agreement, the basis for which such suit or action
     is any and all prior agreements between any Parties to this Agreement.
         2.2 The duties, rights, and obligations set forth in this Agreement shall commence only upon the Start
     Date. In the event Art Port shall reasonably determine, on its inspection, that the Art in storage has deterio
     rated to a point it cannot reasonably be used by Art Port to properly perform its obligations hereunder, this
     Agreement shall, upon immediate notice from Art Port, terminate and the Parties shall follow the procedures
     set forth in Section 3 for such termination.
         2.3 As further set forth in this Agreement, 41 hereby engages Art Port as its exclusive and worldwide
     marketer, manager, and promotor, of, and sales entity, for, the Art to Clientele.

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        2.4 The Parties agree, and stipulate, that Art Port has represented that the Initial Recovery Amount was
     spent, or invested, on Allowable Expenses by Art Port prior to the Effective Date.
                                           SECTION 3. TERM AND TERMINATION EVENTS
         3.1 Initial Term. The Initial Term of this Agreement shall run for a period of three (3) years, beginning
     on February 01, 2019 (Effective Date) and ending at midnight on January 31, 2022 (Initial End Date).
         3.2 Extended Term. In the event aggregate Profit from sales of Art during the Initial Term exceed Seven
     Hundred Fifty Thousand Dollars ($750,000), Art Port, at its sole option, may, upon advance notice to 41 of
     not less than one (1) month prior to its Initial End Date, extend this Agreement for an additional three (3)
     years. If not so extended, absent the Parties executing a continuing agreement on or before its Initial End
     Date, this Agreement shall automatically terminate on the Initial End Date.
         3.3 Term. Term of this Agreement shall consist of its Initial Term and, if applicable, its extended term.
         3.4 Events upon termination. The Parties agree to the process upon termination set forth in EXHIBIT E,
     incorporated herein by reference, and agree to the following additional matters with regard to any termi
     nation of this Agreement:
         (a) The Art. Except as provided in EXHIBIT E, all Art shall be promptly released to 41 for retrieval, and
     upon release, 41 shall be solely responsible for all costs for the storage, insurance, maintenance, and, except
     as provided in EXHIBIT E, retrieval and return of the Art.
         (b) Loan Agreements. Art Port will, within no more than one (1) week from any termination, provide
     41 with a copy of the perpetual Loan Agreement log, maintained pursuant to Section 5.3(g), together with
     copies of any Loan Agreements still active, and cooperate with 41 to ensure the timely return of any Art not
     yet returned pursuant to such Loan Agreements.
         (c) Database. Art Port will, not later than one (1) month after any termination, release the Database to
     41, upon which release, 41 will be solely responsible for all costs of maintenance and access.
         (d) Sunset compensation. For a period of three (3) years from any termination not caused by a default
     by Art Port, 41 will, by the twentieth (20th) day of the month following receipt of Gross Proceeds from any
     sale of Art to a purchaser, pay Art Port fifteen percent (15%) of the Profit from any such sale. For clarity,
     immediately upon any termination, 41 shall have no restrictions on gifting or lending of the Art, except
     that, for the same period of three (3) years from any termination not caused by a default of Art Port, 41
     agrees: (i) not to gift a work of Art in contravention of a pending sale, (ii) not to gift or lend in excess of ten
     percent (10%) of the totality, as of the date of termination, of the Art, and (iii) not to gift or lend Art to the
     issue of Artist.
                                                        SECTION 4. THE ART
         4.1 Care of the Art. Art Port agrees it will, during the Term, and immediately following any termination
     (until the Art has either been returned to, or made available for retrieval by, 41), at all times the Art, or any
     portion thereof, shall be within its possession, or control, even if Art has been loaned by Art Port to other
     parties pursuant to this Agreement, take all reasonable actions to maintain, and where deemed appropriate
     or necessary solely by Art Port, improve, restore, repair, or enhance, the value of the Art.
         4.2 Storage of the Art. The Parties agree to be bound by the provisions regarding storage of Art set
     forth in EXHIBIT C, incorporated herein by reference.
         4.3 Insurance of Art and insurance proceeds. The Parties agree to be bound by the provisions regarding
     insurance of Art and insurance proceeds set forth in EXHIBIT C, incorporated herein by reference.
                       SECTION 5. ART PORT, RIGHTS AND OBLIGATIONS OF, AND LIMITATIONS UPON
         5.1 Art Port shall be permitted, during the Term, to take actions it deems appropriate to accomplish the
     purposes of its engagement, which the Parties fundamentally agree and stipulate is to market and promote
     the Art to encourage sales of the Art with sufficient frequency that would allow Art Port to recover and, on
     success, exceed, the Initial Recovery Amount and all Recovery Amounts, so long as such actions do not cause
     a diminution of the value of, or endanger, the Art or reputation of the Artist.
         5.2 While the Artist or 41 may, on occasion, make suggestions to Art Port, there shall be no expectation
     they do so, nor any obligation upon the Artist or 41 to do so. The Parties agree that fundamentally, it is the
     intention of the Parties to allow Art Port to perform on its own without direction, exercising their creativ
     ity, experience, and expertise on an unfettered basis, free of interruption or distraction, so long as such
     actions do not cause a diminution of the value of, or endanger, the Art or reputation of the Artist.
         5.3 Services of Art Port. Art Port agrees, at its own cost and expense, unless otherwise provided in this
     Agreement, such cost and expense to be recovered solely from its share of Profit from the sale of Art, to

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     provide those services and resources reasonably required, devoting as much of Art Port’s time and efforts
     as reasonably necessary, to perform its services pursuant to this Agreement, including, but not limited to:
         (a) The Art. Collect, retrieve, care for, store, insure, curate, catalog, and designate the Art, including
     the agreements of the Parties thereto, as set forth in EXHIBITS A, B and C, incorporated herein by reference.
         (b) Sales of Art. Art Port shall be responsible, as the sole entity representing 41 and the Artist, for ne
     gotiating, purveying, and conferring, with, and for sales to, Clientele.
         (c) Ancillary services. While the Parties recognize that certain capabilities of Art Port may assist in
     accomplishing the fundamental purposes of this Agreement, the Parties recognize that ancillary services are
     time consuming and distracting, and that only Art Port can uniquely determine the cost benefit of such
     services in achieving such purpose. Accordingly, all decisions to explore, organize, perform, or provide,
     the ancillary or similar services enumerated below, and the amount of time devoted to each, shall be at the
     sole discretion of Art Port, so long as their actions do not cause a diminution of the value of, or endanger,
     the Art or reputation of the Artist:
                (i) responding to inquiries from Clientele,
                (ii) public showings and museum exhibitions of the Art,
                (iii) development, and use, of catalogs, advertising, and publicity,
                (iv) maintenance of www.ArtSuiteNY.com or website(s) for similar purpose(s), and
                (v) consulting and conferring with the Artist or other parties.
         (d) Artist attributes. Unless its use shall cause a diminution of the value of, or endanger, the Art or
     reputation of the Artist, Art Port is permitted to use the Artist’s name, likeness, signature, voice, photo
     graphs (subject to any copyright or publication right separately required by the videographer or photogra
     pher), approved biographical information, and Art images in promotional efforts. Art Port will promptly,
     upon publication of printed items, provide not less than ten (10) copies of each to 41, so long as the cost of
     such printed items does not exceed One Hundred Dollars ($100), including the cost of shipping same to 41
     (the Cost), in which case Art Port shall provide only the number of copies equal to or less than the Cost.
         (e) Restoration and repair of Art. Where deemed necessary solely by Art Port to prepare Art for sale,
     viewing, or other permitted use, Art Port may, at its expense, restore or repair Art in its possession or con
     trol. If the Art is significantly damaged and its restoration or repair potentially invasive, Art Port shall notify
     41 prior to undertaking the work. If the Artist can repair the work, the Artist will notify Art Port, and, in
     lieu of the work it planned, Art Port may, at its cost, return the Art for repair, and subsequently, at its cost,
     retrieve same. The Artist shall, if able, repair the Art without charge to Art Port. Notwithstanding the fore
     going, Art Port shall not materially alter, or allow to be altered, any work of Art in its possession or control
     from the original intent of the Artist.
          (f) Maintenance of complete and timely records of all sales activity. Art Port will, at all times, main
     tain complete, timely, and accurate records of all sales, including sufficient information to provide, if re
     quired, an accurate and complete Purchase Offer; and a documented record of any and all sales, including a
     sufficient Art Description, an accurate Gross Proceeds, Purchase Price, and Market Price, and an accurate and
     complete calculation of the applicable Profit for any sale of Art. Such records shall be maintained in perpe
     tuity during the Term and for a period of three (3) years following any termination of this Agreement.
         (g) Maintenance of complete and timely records of all loan activity. Art Port will, at all times, maintain
     a complete, timely, and accurate log of all loan activity, tracking any events, including evaluation loan
     receipts, and the date on which works are to be returned by the borrower and ensuring return dates are
     met on a timely basis, a full Art Description and the aggregate Market Price of Art loaned, insurance on the
     works to the extent not provided by the borrower, and further arranging for their return to storage, or, if
     ultimately borrowed from the Artist or his issue, ensuring the enforcement of all terms and conditions
     thereof, including the timely return of the works to any party other than a return to storage by Art Port.
     Such records, and the underlying Loan Agreements, shall be maintained in perpetuity during the Term and
     for a period of three (3) years following any termination of this Agreement.
         (h) Reporting. Art Port agrees to provide reports on a timely basis, as set forth in Section 9.5 and EX
     HIBIT D, incorporated herein by reference.
          (i) Books of account and inspection. While there is no obligation upon Art Port to provide 41 with an
     accounting at any time, including any periods prior to the Effective Date, other than a final accounting to set
     forth its Net Recovery Amount upon a termination as provided in EXHIBIT E, Art Port shall, at its expense,
     maintain banks accounts, and true, complete and correct books of account of its activities and expenditures
     related to its services in accordance with generally accepted accounting principles, applied on a consistent
     basis. Such books of accounts, together with Purchase Offers and executed copies of all Sales, Gift, and Loan
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     Agreements, shall be kept at all times at the principal offices of Art Port. Representatives of 41, acceptable to
     Art Port (approval of which shall not be unreasonably withheld), upon prior written notice and during
     normal business hours, but not more than once in any calendar year (unless the immediately prior inspec
     tion resulted in a significant discrepancy), shall have access to, but not an obligation to so access, the books
     and records of Art Port, for the sole purpose of reviewing compliance with this Agreement.
          (j) Taxes. Art Port shall, at its own expense, be responsible for any and all tax reporting required,
     including Sales Taxes and any income, franchise, property, or other tax reports required of Art Port, together
     with the payment of, or collection and remittance of, any and all taxes arising from its business activities
     and any and all sales of Art by Art Port, and further including any Gross Proceeds received by 41 duly pro
     vided to Art Port as set forth in this Agreement. Art Port agrees to indemnify 41 for any failure on the part
     of Art Port to properly collect, allocate, remit, or pay any and all taxes.
         5.4 Rules for, and limitations upon, sales of Art.
         (a) Intent of the Parties. To ensure Art Port can reasonably, of its own accord, manage and make sales
     of Art without an undue burden of advance notification or approval, except as set forth in this Section 5.4,
     Art Port may make sales, upon its reasonable sole determination without requiring pre approval.
         (b) Sales of Franchise Works. While Art Port may provide 41 a Purchase Offer for a Franchise Work, 41
     shall not be obligated to consider or approve any offer for a Franchise Work, it being agreed by Art Port that,
     by their nature and designation, Franchise Work is specifically designated as not for sale. Notwithstanding
     the foregoing, 41 may, but may not obligated to, provide a Purchase Price at which it will approve the sale
     of a Franchise Work. If 41 does not respond to a Purchase Offer for a proposed sale of a Franchise Work, any
     such nonresponse shall automatically mean the Purchase Offer has been rejected.
         (c) Sales of Free Agent Works. Art Port may sell Free Agent Works for the Market Price for each such
     work of Art. Any proposed sale for a Purchase Price that fails to meet the Market Price of a Free Agent Work
     shall only be allowed upon advance notice to 41. Notice is to include a Purchase Offer and a minimum period
     of two (2) weeks for consideration (Consideration Period). Not later than the conclusion of the Consideration
     Period, the notified Parties will approve or reject the Purchase Offer, and if rejected, advise Art Port of an
     acceptable counteroffer (except for Franchise Works, which can simply be rejected), which such counteroffer
     may not exceed the Market Price. In the event the notified Parties fail to provide their reply within the Con
     sideration Period, Art Port shall be permitted to sell the work of Art, except a Franchise Work—see Section
     5.4(b)—at the originally proposed, or if increased during the Consideration Period, the last such increased,
     Purchase Offer or Price.
         (d) Cooperation of 41. Acknowledging that the fundamental purpose of this Agreement is to encourage
     the sales of Art by Art Port, as set forth in Section 5.1, 41 agrees to cooperate fully and promptly in trans
     ferring any work of Art, required by Art Port for viewing or sale, but only so long as 41 has been provided
     with a Loan Agreement that includes reasonably acceptable terms and conditions for such transfer to Art
     Port and its return.
         (e) Remedy for contravention by 41. In the event 41 shall fail to transfer a work of Art in contravention
     of this Section 5.4, which work of Art has not been destroyed or damaged by an insurable peril, whether
     insured or not, 41 shall promptly pay the Profit share as would have been earned on the sale by Art Port.
     Upon payment by 41, the work of Art shall automatically be designated a Franchise Work and shall only be
     sold thereafter as set forth in Section 5.4(b).
          (f) Bulk Sales. A bulk sale of fifty (50) or fewer works of Art (which quantity shall not include any
     Strappos in a bulk sale) shall be within the reasonable discretion of Art Port. Absent the advance written
     consent of 41, which will not be unreasonably withheld, no bulk sale shall be made by Art Port (i) to the
     same Person or their Affiliates more than once in the Term, (ii) more than once in any one calendar year
     during the Term, or (iii) in excess of fifty (50) works of Art (excluding Strappos in the bulk sale).
         5.5 No obligation to advance or lend to 41. Art Port shall not be required to, and shall not, and 41
     agrees that Art Port shall not, have any obligation to make any loans or advances to 41, defer any allocation
     of Profit, as set forth in Section 9, or pay any expenses on behalf of 41 set forth in this Agreement as an
     obligation of 41. Notwithstanding the foregoing, Art Port agrees that it is responsible for the costs incurred
     by Art Port for the services provided pursuant to this Agreement and 41 agrees that such costs incurred and
     paid, or owing, by Art Port, shall be included in the Initial Recovery Amount, Recovery Amount, and Net Re
     covery Amount, and shall be subject to recovery by Art Port only in the manner set forth in this Agreement.
     Amounts paid or advanced by Art Port on behalf of Art Port in furtherance of its provisions of services
     pursuant to this Agreement shall not, in any manner, become an obligation of 41, but may only be recovered
     from allocations of Profit as set forth in Section 9, and upon a termination, then as set forth in EXHIBIT E
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     from a selection of Art. No provision in this Agreement shall be construed to create an obligation of 41 to
     Art Port except as specifically set forth in Sections 3.4(d), 6.3, 9.4, 9.5, Section B.3 of EXHIBIT B, and Items 6
     and 8 of EXHIBIT C.
         5.6 Limitation on group shows. Art Port agrees that it will not show the Art together with other artists
     (a group show), unless the venue or show organizers require group showings as a condition of participation
     or, otherwise, without receiving the advance written approval of the Artist or 41, and agrees the Artist or
     41 may, at its sole discretion and without explanation, withhold such approval. Any failure by the Artist or
     41 to respond within two (2) weeks of a notice from Art Port shall be automatically interpreted as approval
     of the group showing requested by Art Port.
         5.7 Single point of contact. At any time following the passage of at least six (6) weeks following the
     Start Date, Art Port shall have the right to request of 41, a single point of contact (SPOC). 41 shall, within
     two (2) weeks, designate its SPOC, which such SPOC shall be reasonably acceptable to Art Port, and which
     SPOC shall be the exclusive point of contact by Art Port for routine matters with regard to its responsibilities
     pursuant to this Agreement. The SPOC will handle any required communications within 41, and, in turn,
     Art Port. Art Port may, without interference from the Artist, his issue, or their Affiliates, rely upon commu
     nications with the designated SPOC for all routine matters related to this Agreement.
         5.8 Non exclusivity. 41 agrees that Art Port is not required to devote its full time to the services pro
     vided in this Agreement and Art Port shall only be required to render reasonable services as and when rea
     sonably required. 41 agrees that Art Port may be engaged to provide similar services to other Persons and/or
     artists and that Art Port may engage in other business activities, provided that Art Port shall be able to fully
     comply with its responsibilities pursuant to this Agreement.
         5.9 Return of the Art. In addition to the responsibility of Art Port to periodically return Art during the
     Term pursuant to any Loan Agreements, Art Port will fully cooperate with 41 at any termination to facilitate
     the prompt retrieval of the Art by 41.
        5.10 Reproduction of the Art. Art Port will request, but not be held responsible for omission by a pub
     lisher, that appropriate copyrights appear with any reproduction of Art arranged by Art Port.
        5.11 Transfer of copyrights. Art Port will include a “boilerplate” statement in all Sales, Gift, and Loan
     Agreements, as follows:
        The copyright(s) in any and all works of art, named in, or the subject of, this Agreement, are owned by Harold Garde, individually and,
        as applicable, Studio 41 LLC and the estate of Harold Garde (the Copyright Owners). No party shall have, or be granted or provided
        with, a right or claim to the copyrights legally claimed by the Copyright Owners. Any art subject to this Agreement may not be reproduced
        in any manner for any commercial purpose, or for distribution to the public, without the advance written permission of Studio 41 LLC.
     The Parties recognize that copyrights for works of art sold or transferred may be difficult to enforce and
     agree that it will be the sole responsibility and cost of the Artist or 41 to enforce any claims for copyrights.
     The Artist and 41 recognize the “boilerplate” statement above may have a negative influence on a potential
     purchaser and Art Port shall be allowed, at its reasonable discretion, to modify the “boilerplate” to mitigate
     objections of a potential purchaser as long as the first sentence is not stricken. Further, on a loans or other
     transfers of Art for a Public Purpose, the “boilerplate” statement can be removed and replaced with an agree
     ment that reproduction of the works by the transferee will include © Harold Garde and Studio 41 LLC, in order to
     facilitate including the works in catalogs and similar publications related to the Public Purpose.
                  SECTION 6. THE ARTIST AND 41, RIGHTS AND OBLIGATIONS OF, AND LIMITATIONS UPON
         6.1 Ownership. The Artist, and, as applicable, 41 (including Franchise and Free Agent Works), represent
     and warrant they own all right and title to, and copyright in, all of the Art, including but, not limited to, all
     images, representations, information, and attributes. Art Port represents and warrants that the Artist, and,
     as applicable, 41, own all right and title to, and copyright in, all of the Art, including, but not limited to, all
     images, representations, information, and attributes; and that no term, condition, representation, or prom
     ise in this Agreement, nor the possession of any work of Art by Art Port or any of its Affiliates shall be con
     strued under any basis, legal argument, or assertion, to be owned by, or serve as collateral, as such term is
     generally and specifically understood, in part or in whole, without exception, unless specifically transferred
     and documented as set forth in this Agreement pursuant to a specific provision that allows such transfer of
     ownership. Art Port agrees that 41 and the Artist have reserved all rights not specifically granted in this
     Agreement including, but not limited to, all publishing and other rights to its work, other than those rights
     specifically granted in this Agreement.
         6.2 Duties. The Artist and 41 agree to use good faith efforts to promote and pursue the career of the
     Artist; to make the designations and meet the obligations required in EXHIBITS A, B, C, D, and E, incorporated
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     herein by reference; create and periodically, at Art Port’s request and cost, but not more than twice each
     calendar year, transfer to Art Port, additional works of Art by the Artist; and encourage sales of Art.
         6.3 Sales, or receipts, of Gross Proceeds by 41. 41 shall, during the Term, only make sales that also
     comply with the provisions of Sections 5.4, as if the requirements therein that apply to Art Port were instead
     applied to 41. In the event the Artist, his issue, or 41, shall receive Gross Proceeds from a sale of the Art made
     during the Term, even if such Gross Proceeds are received after a termination of this Agreement not caused
     by a default by Art Port, 41 shall promptly report the sale and amount of Gross Proceeds received to Art Port,
     together with information or details Art Port would typically require to determine Profit from a sale. Art
     Port will promptly determine the Profit and provide documentation for its calculation to 41. Upon receipt
     and review, 41 shall remit to Art Port, within no more than two (2) weeks, its allocated share of Profit,
     pursuant to Section 9.
         6.4 41 agrees that, during the Term, it, the Artist, and his issue, shall not appoint, or negotiate or con
     tract with any third party to provide the services, in part or in whole, set forth in this Agreement to be
     provided by Art Port. 41 agrees that Art Port represents itself as experts in the services to be provided herein,
     and Art Port represents it has such expertise to perform the services. The Parties agree the best results will
     be realized by allowing Art Port to perform the services without interference. Accordingly, the Artist and
     41 agree not to interfere, and to enforce an obligation upon the issue of the Artist not to interfere, with the
     activities of Art Port in contravention of this Agreement, except as may be required by this Agreement or for
     the purpose of securing and protecting the Art or reputation of the Artist should there be a reasonable
     determination by the Artist or 41 that there is, or may be, a diminution of the value of, or endangerment to,
     the Art or reputation of the Artist.
         6.5 Maintaining the Artist website. 41 shall, at a minimum, retain the URL, www.HaroldGarde.com,
     and maintain the website as it exists as of the Effective Date, and thereafter, at the request of Art Port, which
     requests shall provide specificity with regard to the updates requested and shall not be more frequent than
     six (6) in any calendar year in the Term, update the website as reasonably requested by Art Port to incorpo
     rate new events, art images, and new information in the bio of the Artist. In the event 41 shall fail to rea
     sonably update its URL within three (3) weeks of a request from Art Port, 41 shall assign its URL to Art
     Port, which, on accepting such assignment, may, at its option, perform updates to the Artist’s URL. Upon
     any termination of this Agreement, Art Port shall promptly reassign the Artist’s URL to 41. During the Term,
     41 may add a link from its URL to URL’s as maintained by Art Port, and, if and as requested by Art Port,
     will allow a link from URL’s as maintained by Art Port to its URL.
                                                  SECTION 7. GIFTS OF ART
         7.1 Purpose of Gifts. While the Parties acknowledge that the Artist has enjoyed the privilege of gifting
     some of his works of art over his lifetime, the Parties agree that unfettered gifting of the Art during the Term
     may reduce the value of the Art and potential success of Art Port. Accordingly, the Parties agree that limi
     tations upon gifts are an important element of this Agreement. Further, the Parties recognize that gifts should
     be strategic, both with regard to recipient and the Art to be gifted, and that the reasons for such gifts should
     be transparent and, wherever practical, mutually agreed upon.
         7.2 Gifts by Art Port. Unless Art Port shall have received the advance written consent of Artist or 41,
     Art Port shall, without exception, make no gifts of Art to any Persons. If Art Port believes a gift of Art would
     further its success, Art Port shall notify 41 and, concurrently, Artist, providing an Art Description, and fur
     ther identifying the intended recipient, timing, and reason(s) for the gift. The Artist and 41 shall have one
     (1) month to confer with Art Port, discuss the reasons, and reach a decision approving, rejecting, or modi
     fying the gift request, which modification may, but is not required to, include alternate works of Art the
     Artist or 41 feels may better serve the purpose. The decision of the Artist or 41, including the decision to
     offer or not offer any alternate Art, shall be final and binding on all Parties. If a gift is so approved, it will
     be documented by Art Port in a Gift Agreement, the original of which will be retained by Art Port at all times
     during the Term and for a period of three (3) years following any termination, and a copy of which is to be
     promptly provided to 41 following its execution.
         7.3 Gifts by Artist. While the Artist or 41 may act to approve, reject, or modify a gift request by Art
     Port, the Parties agree the Artist, and only the Artist (and for clarify, not 41 or the issue of the Artist), shall
     have the right, but not the obligation, to gift up to Fifty Thousand Dollars ($50,000) of Art, as measured by
     the cumulative dollar value of all Art, determined by their respective Market Prices, proposed for gifting in
     any calendar year during the Term, subject strictly to the provisions of this Section 7.3.


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          (a) Non cumulative. The limitation of Fifty Thousand Dollars ($50,000) in any calendar year is non
     cumulative. Any unused amount may not be carried forward from one calendar year to any other.
          (b) Purpose. The Artist agrees that gifting under this Section 7.3 should be limited and have, where
     practical, strategic purposes that may align with Art Port and its success. Strategic purposes include gifts
     to public entities, such as museums and institutions, including those closely associated with the life of the
     Artist (e.g., the University of Wyoming, Columbia University, and museums in Maine or Florida), or private
     collections the purpose of which is to build a representative body of the work of the Artist to be donated to
     a museum or institution. Gifts may also represent gratitude of the Artist, such as might be provided a cu
     rator, videographer, or author important to the Artist or his work, or as the Artist may have, earlier in his
     life, provided to a recipient to mark a seminal event in their life, and may, with reasonable discretion, be
     members of the Artist’s family. While the Artist will disclose his reasons for making a gift, the recipient is
     solely his decision.
          (c) Not in contravention of Legacy Works. The Artist may propose a gift of Art designated as a Legacy
     Work, but only Art Port may permit the gift of a Legacy Work, or in its published catalog of work for sale
     continuously maintained, as set forth in EXHIBIT A, incorporated herein by reference, during the Term.
          (d) Not in contravention of Restricted Categories. The Artist, during the Term, may not, on a cumula
     tive basis, gift in excess of ten percent (10%) of any Restricted Category. Cumulative shall include any and
     all gifts made by the Artist during the Term.
          (e) Not in contravention of sales by Art Port. The Artist will provide an Art Description of his intended
     gift(s) to Art Port. Art Port will, within two (2) weeks, determine if the gift(s) are in contravention of Sections
     7.3(c) or 7.3(d), and if so, the Artist will be permitted to substitute a different work, subject to the same
     determinations by Art Port. Art Port shall provide documentation that supports its determination for each
     evaluated submission. Once Art has been determined as compliant with Sections 7.3(c) and 7.3(d), Art Port
     shall advise Artist if it believes it can sell the Art or releases it without attempting to sell it. If Art Port
     believes it can sell the Art, Art Port shall have a period of three (3) months in which to affect a sale of the
     Art. If the Art has not been sold in the three (3) month period, absent a mutually agreeable extension, the
     Artist shall be free to gift the Art without objection by, or compensation to, Art Port.
           (f) Gifts in contravention of Section 7. In the event Art Port shall have made a gift in contravention of
     this Section 7 prior to the Effective Date, it shall promptly reclaim the Art. If it is unable to do so, or if Art
     Port shall have made, or make, a gift in contravention of this Section 7, prior to, or during the Term, it shall
     pay 41 an amount equal to thirty percent (30%) of the Market Price of the work(s) of Art so gifted. In the
     event Artist shall make gifts in contravention of this Section 7 during the Term, Art Port shall be entitled to
     deduct from Profit allocated to and otherwise to be paid to 41 an amount equal to seventy percent (70%) of
     the Market Price of Art so gifted.
          (g) Taxes. Taxes, if any, occasioned by a gift by Artist or Art Port shall be the sole responsibility of
     whichever Party made the gift.
                                                    SECTION 8. LENDING OF ART
         8.1 Loans in general. All loans of Art, regardless of the holder of the Art, shall be centralized through
     and administered, at all times, by Art Port. All loans of Art shall be notified by Art Port to 41, in advance of
     any agreement, except for evaluation loans by Art Port as set forth in this Section 8.1, to lend the Art. Any
     notice shall include an Art Description, identity of the borrower, and the reasons, therefore. The Parties agree
     that a “loan” of Art to a prospective purchaser for purposes of evaluating the Art, as is common in the art
     world, shall be evidenced by a receipt for the Art, which receipt shall include an Art Description, and pro
     vide for a return of the Art within not less than two (2) weeks, and which such evaluation shall not require
     a formal Loan Agreement.
         8.2 Loan Agreements. Any loan of Art, except as set forth in Section 8.1, shall only be made upon the
     terms and conditions of a Loan Agreement executed in advance of its lending. Lending shall include and
     incorporate a loan from the Artist, his issue, or a third party, and a loan may require more than one Loan
     Agreement, e.g., a loan of a third party will require a Loan Agreement between Art Port and the third party,
     and, to further lend the work to its ultimate borrower, the loan of the work from Art Port to the ultimate
     borrower shall require a Loan Agreement from Art Port to the ultimate borrower. At a minimum, a Loan
     Agreement between a lender and borrower shall be executed by a duly authorized representative of each,
     and contain the information set forth in the definition of Loan Agreement.
         8.3 Responsibilities of Art Port. Art Port shall be fully responsible for the timely administration of all
     aspects of any and all Loan Agreements hereunder (including temporary “evaluation loans,” as set forth in

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     Section 8.1), including with specificity their negotiation, return of the work to Art Port, and its subsequent
     return, if applicable, to the Artist, his issue, or a third party. In the event the return of the work is not
     effectuated by the date provided in a Loan Agreement (or an “evaluation loan”), Art Port shall immediately
     investigate the delay, determine the new date it will be returned, and immediately notify the lending party
     if not (ultimately) Art Port of any delay. All costs for lending of work shall be the responsibility of Art Port,
     except as it may negotiate responsibility for any, or all, costs to the borrower.
         8.4 Loans by Art Port to Persons or Affiliates of Art Port. The Parties recognize that Art Port has made
     loans of Art prior to the Effective Date. Such loans to Persons part of, or Affiliates of, Art Port made (or can
     make) strategic sense, i.e., a work of Art in the residence of a Person that is part of, or Affiliates of, Art Port,
     allows them to discuss the value and uniqueness of the Art and Artist and may result in sales among ac
     quaintances and in their extended network. Art Port agrees that it has previously documented such loans
     with a Loan Agreement. If Art Port has not secured a Loan Agreement for such Art, Art Port agrees, within no
     more than one (1) month from the Execution Date, to identify to 41 any Art so lent, including an Art Descrip
     tion, and promptly document the loan with a Loan Agreement, and retain the original, and make a copy of
     the Loan Agreement available to 41 as required in EXHIBIT D, incorporated herein by reference.
         8.5 Reporting of loans. Art Port shall maintain, along with original copies of all Loan Agreements (and
     receipts for “evaluation loans”), a perpetual log of all Loan Agreements (including “evaluation loans”),
     whether completed and fully returned, or still lent, showing, at all times, the date the loan was made, the
     date on which the Art was, or is, scheduled to be returned, and upon its return, the date on which the Art
     was returned, the borrower, the value of the Art (which shall be no less than its Market Price), and a desig
     nation of which party insured the Art. A copy of the perpetual log, together with any Loan Agreements and
     evaluation loan receipts, created in the prior calendar month will be made available by Art Port to 41 with
     the monthly reporting required as set forth in Section 9.5 and EXHIBIT D, incorporated herein by reference.
                            SECTION 9. ALLOCATION OF PROFITS AND PAYMENTS BY THE PARTIES
         9.1 Allocation of Profit on sale of Franchise Works. The Parties agree that, with regard to a sale by Art
     Port of a Franchise Work, Profit shall be allocated such that forty percent (40%) shall be earned and retained
     by Art Port and sixty percent (60%) shall be earned and paid to 41.
         9.2 Allocation of Profit, Initial Recovery Amount not yet recovered. During the Term, until such time
     as Art Port shall have recovered, including any Profit earned pursuant to Sections 6.3 and 9.1, the Initial
     Recovery Amount, Profit, including a sale of a Free Agent Work, shall be allocated such that seventy percent
     (70%) shall be earned and retained by Art Port and thirty percent (30%) shall be earned and paid to 41,
     except that, on the first $50,000 of Profit generated on or after the Effective Date, Art Port must still report as
     required by Section 9.5, but shall be entitled to retain one hundred percent (100%) of such Profit to a maxi
     mum of $15,000 that would have otherwise been paid to 41 pursuant to this Section 9.2.
         9.3 Allocation of Profit, Initial Recovery Amount recovered. After such time as Art Port shall have
     earned the entirety of the Initial Recovery Amount, Profit shall, at all times thereafter, be allocated, except as
     otherwise provided in Section 9.1, such that fifty percent (50%) shall be earned and retained by Art Port
     and fifty percent (50%) shall be earned and paid to 41.
         9.4 Offset for Reimbursable Costs. In the event there shall be Reimbursable Costs owed to Art Port, Art
     Port may, at its sole discretion, recover such Reimbursable Costs by offsetting Reimbursable Costs against any
     payments as shall be due 41 pursuant to this Agreement.
         9.5 Timeliness of reports and payments. Timeliness of monthly sales reports and payments shall be of
     the essence with regard to performance hereunder by Art Port. Any occurrence of three (3) or more failures
     by Art Port during any calendar year, or any continuing default beyond one (1) month from the date on
     which such report or payment was required, during the Term shall represent a de facto default by Art Port,
     upon which default 41 may, at its sole option, declare a Termination. To simplify reports and payments to
     41 to minimize the likelihood Art Port shall default, the Parties agree that both a monthly report of any sales,
     and payment thereof as due 41, shall be made by Art Port to 41 for the preceding calendar month no later
     than the twenty fifth (25th) day of the immediately following month. For clarity, by way of example, the
     monthly report of all sales in May 2020 shall be due to 41 no later than June 25, 2020. If the 25th of the
     month in which the report and payment is due shall fall on a Saturday, Sunday, or holiday, the immediate
     next business day shall be the date on which the report and payment are due. Due date, for purposes of
     this Section 9.5, means the day on both the report and payment are physically received by 41. Art Pro may
     use any combination of courier services, email, ACH transfers, or other means to ensure it performs on a


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     timely basis. A default of five (5) of fewer business days shall not be considered an event of default if 41
     shall not have provided a notice of default to Art Port within such five (5) business days.
         9.6 Payments by the Parties. Any payments required pursuant to this Agreement, owed by 41, shall
     only be paid to Art Port. Any payments required pursuant to this Agreement by Art Port, including payment
     of Profit for the sale of any Franchise or Free Agent Work, shall only be paid to 41.
                                SECTION 10. NOTICES, DEFAULT, AND OPPORTUNITY TO CURE
        10.1 Methods of providing notice. Any notice, demand, consent, approval, request, offer, or other com
     munication permitted or required to be given hereunder by one Party to the other shall be in writing and
     shall be: (i) personally delivered, (ii) sent by Federal Express or other nationally recognized overnight de
     livery service, signature required, to the Party entitled or required to receive the same at the address spec
     ified on the signature page hereto, except that if the notice shall be to: (a) 41, a copy of any notice shall be
     sent concurrently to Amy Garde Asher and Keith Andrew Garde, and, if a single point of contact has been
     designated pursuant to Section 5.7, to such single point of contact; and (b) a copy of any notice setting forth
     a default by 41 shall also be sent by Art Port concurrently to: Jason Zimmerman, c/o Gray Robinson, P.A.,
     301 East Pine Street, Suite 1400, Orlando, Florida 32801 (or at such other address as may hereafter be des
     ignated by a Party as set forth in this Section 10); or (iii) provided by email, except that any notice to Jason
     Zimmerman may only be provided as set forth in Section 10.1(ii)(b).
              Such notice shall be deemed received: (i) on the day personally delivered; (ii) on the day the over
     night delivery service tracking system shows it was successfully delivered; or (iii) on the earlier of the day
     (y) the sender’s email system shows the email has been read (but not an email system acknowledgement
     that it has been received), a copy of which email receipt shall be retained by sender with a copy of the email
     providing such notice to prove receipt, or (z) the recipient first acknowledges receipt of, or replies to,
     sender’s email. Any Party may designate another, or change its, address for notices hereunder by delivery
     of a notice to all other Parties specified in accordance with the provisions of this Section 10.
        10.2 Default notice and opportunity to cure. If 41 has reason to believe Art Port has, or if Art Port has
     reason to believe the Artist or 41 have, breached this Agreement and defaulted in their performance of duties
     set forth in this Agreement, the Party that believes the other Party has committed such a breach and defaulted
     shall provide notice of such breach or default to the other Party, in accordance with the notice provisions
     of this Section 10, which such notice shall include with reasonable specificity the nature of the breach or
     default, which such notice, shall provide for a period of one (1) month to cure such default. The Parties
     agree that, except as otherwise set forth in this Agreement, no breach or default, unless intentionally dishon
     est, shall be construed as incurable so long as cured with such one (1) month period.
                                               SECTION 11. INDEMNIFICATION
       11.1 Indemnification. To the greatest extent allowed by the laws of the State of Florida, Art Port shall
     indemnify, defend, and hold harmless 41 (and, if applicable, their officers, directors, shareholders, general
     or limited partners, members, employees, agents, successors, and assigns) from and against any and all
     losses, damages, liabilities, claims, demands, obligations, fines, penalties, expenses (including reasonable
     fees and expenses of attorneys engaged by 41 in defense of any act or omissions), judgments, or amounts
     paid in settlement by 41 by reason of any act performed, or omitted to be performed, by 41 in connection
     with Art Port’s business or in furtherance of Art Port’s interests. The provisions of this Section 11.1, how
     ever, shall not relieve 41 of any liability it may have from its own gross negligence or willful misconduct.
       11.2 Provisions not exclusive. The indemnification provided by this Section 11 shall not be deemed
     exclusive of any other rights to which those seeking indemnification may be entitled under any statute,
     agreement, or otherwise.
                                           SECTION 12. GENERAL PROVISIONS
       12.1 Relationship. Nothing contained in this Agreement shall be deemed or construed to constitute any
     Party as a member, manager, general partner, employee, or agent of any other Party. This Agreement shall
     not be construed to create a partnership or joint venture between Art Port and the Artist or 41, individually
     or in any combination thereof. It is agreed that Art Port shall at all times during the Term, act hereunder as
     an independent contractor. Art Port may designate any and all other Persons in its reasonable discretion
     from time to time to assist in performing the services to be rendered by Art Port hereunder without, in any
     way, affecting the obligations of Art Port or the Artist or 41 hereunder. Any compensation payable to such
     other Persons retained by Art Port shall be reasonable and the sole responsibility of Art Port.


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       12.2 Assignment. No Party may delegate its duties hereunder (except as expressly provided in Sections
     5.7 or 12.1) or assign or transfer its interest under this Agreement except as otherwise provided herein.
       12.3 Entire agreement; amendments. This Agreement (and all agreements referred to herein, including
     all EXHIBITS, which are incorporated herein by reference) sets forth all the promises, covenants, agreements,
     conditions, and understandings between the Parties, and supersedes all prior and contemporaneous agree
     ments, understandings, inducements, or conditions, expressed or implied, oral or written, except as herein
     contained. No variations from, modifications of, amendments to, or changes in this Agreement shall be bind
     ing upon any Party hereto unless set forth in a document duly executed by or on behalf of such Party.
       12.4 Binding effect. Subject to the restrictions on transfers and encumbrances set forth herein, this Agree
     ment shall inure to the benefit of and be binding upon the undersigned Parties and their respective heirs,
     executors, legal representatives, successors, and permitted assigns. Whenever a reference to any Party is
     made in this Agreement, such reference shall be deemed to include a reference to the heirs, executors, legal
     representatives, successors, and permitted assigns of such Party.
       12.5 No waiver. No waiver of any provision of this Agreement shall be effective unless it is in writing
     and signed by the Party against whom it is asserted, and any such written waiver shall only be applicable
     to the specific instance to which it relates and shall not be deemed to be a continuing or future waiver.
       12.6 Multiple copies or counterparts of Agreement; electronic signatures. This Agreement may be exe
     cuted in one or more counterparts by the Parties, with electronic signatures presumed to be valid. All coun
     terparts shall be construed together and shall constitute one agreement. Each counterpart shall be deemed
     an original hereof notwithstanding fewer than all of the Parties may have executed the counterpart.
       12.7 Headings. The section headings contained in this Agreement are inserted for convenience only and
     shall not affect, in any way, the meaning or interpretation of this Agreement.
       12.8 Governing law and venue. This Agreement is governed by and shall be construed in accordance
     with the laws of the State of Florida, excluding any conflict of laws rule or principle that might refer the
     governance of the construction of this Agreement to the law of another jurisdiction. Any action related to
     this Agreement shall be brought exclusively in a Court of competent jurisdiction in Orange County, Florida.
       12.9 Further assurances. The Parties hereto agree that they will execute and deliver such further instru
     ments and do such further acts as may reasonably be required to carry out the intent and purposes of this
     Agreement.
       12.10 Attorneys’ fees. In the event any arbitration, litigation, or controversy arises out of or in connection
     with this Agreement between the Parties hereto, the prevailing party in such arbitration, litigation, or con
     troversy shall be entitled to recover from the other Party or Parties in such arbitration, litigation, or contro
     versy, all reasonable attorneys’ fees, expenses, and suit costs, including those associated with any post
     judgment collection proceedings.
       12.11 Remedies. Each Party hereto recognizes and agrees that the violation of any term, provision, or
     condition of this Agreement, including the EXHIBITS attached hereto and incorporated herein by reference,
     may cause irreparable damage to the other Parties which may be difficult to ascertain, and that the award
     of any sum of damages may not be adequate relief to such Parties. Each Party, therefore, agrees that, in
     addition to the remedies available in the event of a breach of this Agreement, any other Party shall have a
     right to equitable relief including, but not limited to, the remedy of specific performance.
       12.12 Injunctive relief. The Parties expressly agree their respective responsibilities pursuant to this Agree
     ment are of a special, unique, and intellectual character, which gives them peculiar value, and which di
     rectly impact, and threaten to irreparably damage, or diminish the value of, the Art, or the reputation of
     the Artist and Art Port. In the event of a breach by any Party of any material term, condition, covenant,
     warranty, or representation herein, the Parties agree that the non breaching Party shall be caused irreputa
     ble harm for which the remedy at law is inadequate. Accordingly, the Parties expressly agree that the non
     breaching Party shall be entitled to preliminary and permanent injunctive relief, mandatory or otherwise.
       12.13 Saving clause. Any provisions under applicable law or regulation which supersede or invalidate
     any provision hereof shall not affect the validity of this Agreement, and the remaining provisions shall be
     enforced as if the invalid provision or provisions were deleted.
       12.14 Severability. If any provision of this Agreement, or the application thereof to any Person or circum
     stances, shall be invalid or unenforceable to any extent, the remainder of this Agreement, and the application
     of such provisions to other Persons or circumstances, shall not be affected thereby and shall be enforced to
     the greatest extent permitted by law.


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        12.15 Construction rules. All personal pronouns used in this Agreement, whether used in the masculine,
     feminine, or neuter gender, shall include all other genders, the singular shall include the plural, and vice
     versa, as the context may require. Titles of Sections are for convenience of reference only and shall neither
     limit nor amplify the provisions of this Agreement itself. References in this Agreement to particular Sections
     are references to Sections of this Agreement unless otherwise specifically provided. The words “hereof,”
     “herein,” “hereto,” “hereunder,” and similar words shall refer to this Agreement as a whole and not to any
     particular provision of this Agreement unless otherwise specifically provided.
        12.16 Interpretation. The Parties each acknowledge to the others that it has reviewed, or had sufficient
     opportunity to review, this Agreement and its terms. The Parties further acknowledge to each other that each
     Party to this Agreement has had equal input as to the drafting and construction of this Agreement and that
     the terms of this Agreement are intended to express the mutual intent of the Parties. Accordingly, the Parties
     intend that a Court construing this Agreement shall not construe it more strictly against any of the Parties
     hereto. Each of the Parties represents and warrants to the other Parties hereto that it has had this Agreement
     reviewed on its behalf by independent legal counsel of its choosing or has waived its right to do so.
        12.17 No punitive or consequential damages. In no event shall any Party hereto or any permitted assignee
     thereof, be liable or otherwise responsible hereunder for punitive damages, or for lost profits or other con
     sequential or incidental damages of or with respect to any other Party.
        12.18 Hold harmless. Each Party hereby acknowledges and agrees that William Hohns, an individual
     (Hohns), was requested by Art Port, 41, and the Artist (and his issue) to provide a negotiated resolution
     related to this Agreement. Both Parties agree that Hohns possessed unique knowledge of the Parties and
     structure they were seeking. Each Party agrees, warrants, covenants, and represents, that, at all times, and
     in all actions by Hohns, he acted as a business advisor to Art Port and its interests and the Artist and 41 and
     their interests, and that each Party, including the issue of the Artist, approved of such role of Hohns. Ac
     cordingly, the Parties agree that Hohns shall, at all times, for any and all involvement, be held harmless by
     all Parties and shall, under no circumstances, be held liable, or named as a party to any event of default,
     breach, or interpretation of, this Agreement, or any action, including any litigation or complaint that may be
     filed by any Party, related to, or arising from, this Agreement, regardless of the underlying cause of, or rea
     sons for, such action, including any action as may be brought or pursued by any of the issue of the Artist.

                                                     [Signature page follows]




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                                                                                                                                                 EXHIBIT A

                                                                     PROCESS FOR DESIGNATING ART AS, AND MATTERS RELATED TO,
                                                                    FRANCHISE WORKS, FREE AGENT WORKS, AND/OR LEGACY WORKS

     In order to designate a limited number of, and certain, works of Art the Artist and his issue believe have
     sentimental or irreplaceable value, and to ensure Art Port may select a limited number of works of Art it
     considers seminal (critically important) works of Art to be available for sale at any time during the Term,
     the Parties agree to the following selection process, categories, and restrictions on designated pieces as set
     forth in this EXHIBIT A and in Section 5.4:
     Capitalized or Italicized Words shall have the meaning set forth in the Agreement.

       Responsible
                                  Timing               Item     Event and description
       Party/Parties
                                                                  41, only from Art in the respective domiciles of the Artist and his issue on the Effec-
                          within two (2) weeks                         Date, shall select and designate no more than six (6) works of Art from each
              41
                          after Execution Date
                                                           1 tive such domicile as Franchise Works, and prepare and provide Art Port with an Art De-
                                                                  scription of their individual Franchise Works
       Photography of any Franchise or Free Agent Works shall be at a resolution not less than 300 dpi and include the front and rear of each
       work of Art, reasonably sufficient to determine its condition and allow its inclusion in the Database.
       ALL Art in any domicile of the Artist or his issue not properly selected and “cataloged” as Franchise Works pursuant to item 1, shall be
       automatically designated as Free Agent Works, but not more than eighty (80) such Free Agent Works in any one domicile as set forth in
       the definition in Section 1, and the requirements at item 2 will be followed for all such Art
       REMEDY for Art Port: If 41 fails to satisfy item 1 on a timely basis, then 41 will surrender its right to designate Franchise Works for any
       domicile the information for which has not been timely provided to Art Port, and all works in such domicile not notified to Art Port as of the
       timing required, shall be designated Free Agent Works
                                                                  41 will arrange for the photography of all works of Art in the domicile of the Artist and
              41
                            within six (6) weeks
                            after Execution Date
                                                           2 his      issue and provide an inventory of same together with the information required in
                                                                  an Art Description of all remaining Art in their domiciles, all of which Art, but not more
                                                                  than eighty (80) works of Art, shall thereafter be designated as Free Agent Works
       REMEDY for Art Port: If 41 fails to satisfy item 2 on a timely basis, then 41 having so failed to do so, will cooperate fully with Art Port,
       which will perform the work, on a mutually agreed upon date(s) and time duration, the agreement to which will not be unreasonably with-
       held, to collect the Art Descriptions in item 2
       After 41 has completed the requirements of items 1 and 2, Art Port shall make no further duplicative requests of 41 to again submit such
       an inventory. However, nothing shall preclude Art Port from making a reasonable supplemental request to either verify an item of infor-
       mation provided if it suspects it may be incorrect or missing, or, on occasion, to request further detailed photographs of a work of Art (or
       portions thereof) if it is trying to determine its condition or suitability for sale. 41 agrees to respond as promptly as reasonably practical
       within schedules of availability and to apprise Art Port promptly of the anticipated time duration they require to respond. In the event 41
       fails to respond or perform within the time frame provided, Art Port shall have the same REMEDY as immediately set forth in the table line
       above, except the cost of performing such services shall be at the expense of 41
                                                                  Art Port shall select and designate, as Legacy Works, no more than thirty (30) works
                          within the earlier of: (a)              of Art. Legacy Works, as well as no more than two hundred (200) works of Art se-
                           two (2) months follow-                 lected by Art Port within the time period for selection of Legacy Works, which addi-
                           ing the receipt of sub-                tional works Art Port shall, during the Term hereof, maintain continuously as a pub-
                          stantially all the Art (ex-             lished (whether digitally or in print) catalog of work that shall, during the Term, re-
           Art Port
                           cluding Franchise and
                                                           3      main for sale at all times, shall thereafter be available for gifting by the Artist only
                           Free Agent Works), or                  upon the advance written approval of Art Port (and by Art Port only upon the ad-
                          (b) six (6) months after                vance written approval of the Artist), each, when and as required in their respective
                             the Execution Date                   approval roles, in their respective sole discretion without requirement of any explana-
                                                                  tion or reason to the requesting Party
       ALL REMAINING ART NOT DESIGNATED ABOVE: Any Art not designated under the procedures above shall be Art available for sale or
       gifting, but only as set forth in this Agreement




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                                                                                                              EXHIBIT B

                                                              PROTOCOLS FOR CATALOGING OF, AND TRACKING, THE ART

     The Parties agree and Art Port herein acknowledges that the Art has significant value. In addition to provi
     sions in this Agreement regarding, among others, the care, maintenance, storage, and insurance of the Art,
     Art Port agrees and acknowledges that the location of each work of Art in its possession, including any Art
     lent pursuant to Section 8, must be known and tracked at all times during its possession. To that end, the
     Parties agree that an accurate, and complete, catalog or Database of the Art should be compiled and main
     tained by Art Port during the Term. The Parties agree to the following terms with regard to the Database.
     Capitalized or Italicized Words shall have the meaning set forth in the Agreement.
         B.1 Art Port shall, during the Term, catalog the Art, including the compilation, creation, continuation,
     and maintenance, of a Database of the Art, the purpose of which is, over time, to review, examine, photo
     graph, assess the condition of, and, as determined by Art Port, categorize the Art, including various attrib
     utes for entry into the Database, among these, common attributes, such as style, year of creation or comple
     tion, substrate, media, size, elements that add to a work’s provenance, such as publications and exhibitions
     the Art appeared in, and title, as well as location of the Art and, its owner, if not 41 and/or the Artist, together
     with a determination by Art Port of a reasonable Market Price for each work of Art, with particular interests
     in (a) optimizing the ease with which as many of the works of Art available for sale can be viewed by
     prospective purchasers both digitally (including remote to Art Port) and in person, (b) retrieving Art as
     promptly as possible, (c) assigning the Art by Restricted Category, as well as grading the Art, for effectively
     assembling viewings, showings, and other purposes set forth in this Agreement, and (d) compiling as com
     plete a raison d’être of the life’s work of the Artist as practical to promote authentication and provenance.
         B.2 The Parties agree cataloging is a time consuming task and, while agreed by the Parties that accom
     plishing as much as reasonably practical in as short a period of time as possible is additive to the ability of
     Art Port to perform its services, it is also distracting. Accordingly, the Parties agree that there shall be no
     specific parameters provided for this work other than a general expectation that Art Port work with rea
     sonable diligence, as time permits, to complete as much of this task as reasonably possible during the Term.
         B.3 Art Port agrees to provide view or read only access to 41 to the Database, but only upon the payment
     either to Art Port, or its Database vendor(s), of any required software licenses specific only to access by a
     third party such as 41, and other than those required by Art Port for its work. Art Port agrees that, if required
     to provide remote access, it will upgrade its system as required to enable remote access by 41. Read only
     access may be limited by Art Port to include only the Art Description and Market Price of each work of Art.
         B.4 Art Port agrees that prior to, or within two (2) weeks of the Execution Date, it will provide a printout
     (or thumb drive or similar universal storage media or cloud based access through Dropbox or a similar
     service) of the Art cataloged through the Effective Date, and will update the additional work, or if easier, the
     entire Database, it has cataloged, once each calendar quarter, in the same manner. 41 agrees that it shall not,
     during the Term hereof, share, directly or indirectly, its access to the Database with any third party that is
     not a named Party (which named Parties shall include the managers and members of 41) to this Agreement.
         B.5 As the Parties recognize that compilation of the Database is in the best interests of Art Port, any
     failure by Art Port to compile such a Database shall not be deemed an event of default.
        B.6. The ownership and maintenance of, and all costs associated with the Database, except as set forth
     in Sections B.3 and B.7 of this EXHIBIT B, shall, during the Term and, until such time as Art Port shall arrange
     transfer of same to 41, including full control of, and access to, the Database, shall be the sole responsibility
     of Art Port.
         B.7 Upon transfer by Art Port, which is required following any termination of this Agreement, of the
     full control of, and access to, the Database, including payment of all costs through the date of transfer, all of
     which Art Port will work to accomplish with reasonable diligence, the Database shall be owned by 41, with
     out the payment of separate cost to Art Port, other than its inclusion in the Net Recovery Amount, if any, as
     applicable, and 41 shall, thereafter, be responsible for all costs of maintenance and access by 41 or any other
     party to which 41, at its sole discretion, shall grant access. Art Port may accomplish such transfer of the
     Database by providing 41 with a copy of the Art Descriptions of the Art as then exist in the Database. Art Port
     shall not have any obligation to (a) transfer the underlying technology in which the Database is compiled or
     maintained or (b) add items or information not then in, or otherwise verify the accuracy of, or improve, the
     Database.


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                                                                                                                                             EXHIBIT C

                                                                CARE OF, AND STORAGE AND INSURANCE PROTOCOLS FOR, THE ART

     Capitalized or Italicized Words shall have the meaning set forth in the Agreement.

      Responsible
                               Timing              Item     Event and description
      Party/Parties
                                                            All Art, excluding Franchise or Free Agent Works, in possession of the Artist or 41, will
                        within one (1) month
           41
                           after Start Date
                                                    1       be prepared for retrieval by Art Port; preparation to include, at the cost of 41, a review,
                                                            and photographic inventory, of all such Art
                                                            As necessary, add (or replace) storage beyond that in place for Art in its possession on
                                                            the Effective Date, and, based upon resources available to Art Port to receive inbound
                                                            shipments, promptly make all arrangements to retrieve, at its sole expense, all Art in
                                                            item 1
                                                            Art Port shall not be required to retrieve all Art, excluding Franchise or Free Agent
                                                            Works, in possession of the Artist or 41, but instead may make a selection of such Art at
                                                            its sole discretion; further, Art Port may elect to return Art in its possession to 41 or the
                                                            Artist at the time it retrieves Art from 41 or the Artist
                                                            Any Art so returned or not retrieved by Art Port shall be thereafter retained by 41 and the
                        during, and promptly                Artist and (except for Franchise and Free Agent Works and Art newly created by the Art-
        Art Port         on completion of,          2       ist after the day such Art has been retrieved or returned by Art Port) may not be included
                                item 1                      in the Database of Art, or otherwise, offered for sale by Art Port
                                                            All such Art as shall be returned or not retrieved by Art Port (except for Franchise or
                                                            Free Agent Works or Art newly created by the Artist after the date such Art has been re-
                                                            trieved or returned by Art Port, all of which shall continue to be governed by the terms of
                                                            the Agreement) shall be retained by 41 or the Artist and shall no longer be included in
                                                            the Database of Art, or otherwise, offered for sale by Art Port, except that (a) 41 and the
                                                            Artist may lend or gift such returned or non-retrieved Art at their discretion and (b) any
                                                            sales of such returned or non-retrieved Art by 41 or the Artist may only be thereafter
                                                            made in accordance with the terms of this Agreement, including the provisions of Sec-
                                                            tions 6.3 and 9.1, 9.2, and 9.3
      Storage of Art:
                                                           Requirements. Storage shall, at a minimum, provide for security of, controlled access
                                                           to, and climate control of, the Art, together with other attributes typical of the long-term
                                                           storage of art, including preferably humidity control, that would reasonably be expected
                                                           to prevent further deterioration or diminution of its value
                             At all times in
         Art Port
                           their possession
                                                    3      Agreement embargo. Art Port shall not execute any third-party agreement for Art stor-
                                                           age without first submitting it to 41 for review and approval
                                                           Agreement requirements. Any third-party agreement for storage may not include pro-
                                                           visions that would allow the lessor to take possession of the Art without providing notice
                                                           of not less than one (1) month to both Art Port and 41
      Art Port agrees to include revisions reasonably requested by 41 in any third-party storage agreement; in the event 41 does not return its
      review within two (2) weeks of its receipt from Art Port, Art Port may complete the agreement as if 41 had no comments in its review
                              at all times                         access codes. Within one (1) week after (a) the Execution Date and (b) any
         Art Port
                           during the Term
                                                    4 Keys,change in storage facilities, Art Port will deliver a set of keys and access codes to 41
         Art Port             at all times                            to storage. Both Art Port and 41 shall have equal access to enter and assess
           & 41            during the Term
                                                    5 Access
                                                           Art in storage; each must, and agrees to, follow all Protocols governing access
                                                           Storage costs shared. The Parties shall share the cost of storage, based on the per-
                              at all times
         Art Port
           & 41            during the Term
                                                    6 centage         allocation, at the time the cost is incurred, of Profit set forth in Section 9; the
                                                           share owed by 41 shall be a Reimbursable Cost, not to exceed $300/month, and shall
                                                           be recovered as set forth in Section 9.4
                                                           Access Protocol. Within two (2) weeks, Art Port shall draft and Art Port and 41 shall,
                                                           within one(1) month, both time durations after the Execution Date, agree on a one-page
                                                           access protocol to be used by all Parties to include a perpetual log, maintained by Art
         Art Port       within one (1) month                     setting forth, at a minimum (other than routine access by Art Port for the purposes
           & 41         after Execution Date
                                                    7 Port,set forth in this Agreement), the (a) date and time of each access entry and departure,
                                                           (b) facility accessed, (c) Persons that accessed the facility, (d) intended purpose, and (e)
                                                           any actions, e.g., additions, viewing, or removal, of Art, a copy of which perpetual log
                                                           shall be included in each monthly report to 41




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                                                                                                                                EXHIBIT C (continued)

                                                               CARE OF, AND STORAGE AND INSURANCE PROTOCOLS FOR, THE ART

       Responsible
                               Timing              Item     Event and description
      Party/Parties
      Insurance of Art:
                                                            Insurance coverage. During the Term, Art Port will insure the Art for reasonable
                                                            amounts and pay the premiums for such coverage. 41 will pay for the cost of up to $1.0
                                                            million of coverage as a simple proportionate ratio to the total coverage in force, which
                               at all times
        Art Port
                           during the Term
                                                      8 will     be included in Reimbursable Cost and recovered as set forth in Section 9.4; if cov-
                                                            erage in excess of $1.0 million is desired, Art Port shall pay for the premiums required to
                                                            provide up to $1.5 million of additional Art value covered and, thereafter, the Parties may
                                                            participate in payment for any premiums for Art value covered beyond $2.5 million at
                                                            their own discretion
                                                            Copies of offers, policies, and renewals. Art Port agrees to provide 41 with copies of
                               at all times
        Art Port
                           during the Term
                                                      9     offers, policies in force, and renewals; policies shall name 41 as an additional insured
                                                            and require advance notice of thirty (30) days on cancellation to both Art Port and 41
                                                            Insurance proceeds. If there is an insured event during the Term, proceeds (up to a
                        at all times during the             cumulative $2.5 million) shall be earned and paid to Art Port and 41 as if it were a sale
        Art Port         Term and thereafter,               of Art to the extent of their respective interests in Profit as set forth in Section 9 at the
           & 41          should a claim occur
                                                     10     time proceeds are received; cumulative proceeds in excess of $2.5 million shall be
                           during the Term                  earned by the Parties to the extent of their participation in premiums for value in excess
                                                            of $2.5 million shall have been paid by each respective Party
      41, the Artist, and his issue shall, during the Term, have the right, but not the obligation, to insure Art in their residences, including Franchise
      and Free Agent Works; insurance proceeds on Art in the residences of the Artist or his issue shall solely benefit the insured party, or 41, as
      applicable, and Art Port shall not share in such insurance proceeds




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                                                                                                                                           EXHIBIT D

                                                                                                                    REPORTING REQUIREMENTS

     The Parties agree, and Art Port herein acknowledges that the provision of timely reports as set forth in
     Section 9.5, is an absolute obligation pursuant to this Agreement. To assist the Parties in tracking reports due
     the other, the following supplemental table of reporting requirements has been provided and agreed to by
     the Parties. The Parties agree to rely upon the provisions set forth in the Agreement regarding all reporting
     requirements and acknowledge that the table below is purely for convenience.
     Capitalized or Italicized Words shall have the meaning set forth in the Agreement.
       Responsible
                                     Timing                   Reports, or payment, required—Section reference
       Party/Parties
                                                                1. Report, to 41, all sales in preceding calendar month—Sections 5.3(f) and 9.5
                                                                2. Payment to 41 of the Profit due 41 on any sales of Art in the preceding calendar
                                                                   month—Section 9.5
                                                                3. Copy of perpetual log, through and including the last day of the preceding calen-
                           on the twenty-fifth (25th) day of       dar month, of all Loan Agreement activity, including an explanation of any loans
                          each calendar month during the           for Art the return of which is past due its agreed upon return date—Sections
                           Term and continuing thereafter          5.3(g) and 8.6
          Art Port        until all reports reflecting activity 4. Copies of any and all Loan Agreements entered into in the preceding calendar
                              through and including the            month—Sections 5.3(g) and 8.6
                                date of any termination         5. Copy of perpetual log, through and including the last day of the preceding calen-
                                 have been provided                dar month, showing all access to, and actions taken, with regard to storage of the
                                                                   Art—Item 6 in EXHIBIT C
                                                                6. Report to 41, any activity in, and a running balance (including the deduction of
                                                                   any recovery from Profit that otherwise would have been paid to 41) of, Reimburs-
                                                                   able Costs as set forth in Section 9.4 and Items 6 and 8 in EXHIBIT C
       In order to ensure there is a monthly report even if there was no activity in the preceding calendar month, Art Port will, for sales, provide a
       report stating there were no sales in the preceding calendar month, and/or, if there was no activity in the perpetual logs for either Loan
       Agreements or storage access, or in Reimbursable Costs, Art Port will provide a copy of the respective previous monthly report(s), as
       applicable, marked “no changes”
                           on the twenty-fifth (25th) day of    Provide 41, if 41 shall not have remote access to the Database, with a printout of
          Art Port           each Jan, Apr, Jul, and Oct        any and all additions or revisions to the Database during the preceding calendar
                                     during the Term            quarter—Section B.4 in EXHIBIT B
                                Within one (1) week of          Provide 41 with a copy of the perpetual log, through and including the date of termi-
          Art Port                 any termination of           nation, of all Loan Agreement activity, including copies of any and all Loan Agree-
                                     this Agreement             ments pursuant to which Art has not yet been returned to Art Port—Section 3.4(b)
                                                                Report, to Art Port, the Gross Proceeds received, but only in such months as sales
                         within two (2) weeks of receipt of
                                                                may occur, together with all details of the purchase and any further information re-
             41            Gross Proceeds received from
                                                                quested by Art Port to reasonably determine the Profit attributable to that sale (Sec-
                           any sale of Art during the Term
                                                                tion 6.3)
                            on the twentieth (20th) day of
                                                                Provide Art Port with a report of any sales of Art in the preceding calendar month,
                           each calendar month for three
                                                                but only in such months as such sales may occur, including a calculation of Profit
             41           (3) years following a termination
                                                                together with payment to Art Port equal to fifteen percent (15%) of the amount
                         (other than a Termination caused
                                                                so determined as Profit—Section 3.4(d)
                               by a default by Art Port)




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                                                                                                                                               EXHIBIT E

                                                                                                               PROCEDURES UPON TERMINATION

     This EXHIBIT E, and any rights or obligations herein, applies only to a termination of the Agreement that is
     the result of: (a) the end of a Term, unless evidenced by a new agreement that supersedes this Agreement;
     or (b) a termination resulting from an uncured default caused by actions of the Artist or 41. The process set
     forth in this EXHIBIT E shall not apply to any Termination.
     Capitalized or Italicized Words shall have the meaning set forth in the Agreement.

       Responsible
                                 Timing                Item      Event and description
       Party/Parties
                                                                  Provide 41 with Net Recovery Amount. Accounting to include for each expense, at
                        within two (2) months of
         Art Port
                           date of termination
                                                         1        a minimum: (a) its date; (b) party paid or owed; (c) description of and, if description
                                                                  is not self-explanatory, reason; (d) amount; and (e) underlying receipt/record
       If there shall be no Net Recovery Amount due on termination, skip to item 3
                                                                  Provide 41 with a selection of Art, the aggregate value of which is equal to the Net
                          within two (2) months of
           Art Port
                             date of termination
                                                         2        Recovery Amount, including, for each work selected: (a) its Art Description and (b)
                                                                  Market Price*
       * Market Price(s), for purposes of Item 2 above, shall not be less than $8/sq inch for works in excess of 999 sq inches and $16/sq inch for
       works less than 1,000 sq inches, determined by the product of the image’s height and width for each work of Art selected by Art Port. Art
       Port agrees that no one work, or multiple number of works, of Art in its selection in item 2 shall represent, individually or collectively, more
       than ten percent (10%) of any Restricted Category
                                                                  Release, for collection by 41, all Art in its possession not included in item 2, upon
                          within two (2) months of
           Art Port
                             date of termination
                                                         3        which release, 41, will assume all costs of care, storage, insurance, etc., and may
                                                                  collect, move, transfer, and relocate, the Art, at its cost and convenience
       REMEDY for 41: If Art Port fails to provide items 1 and 2 on a timely basis, Art Port agrees to surrender its right to do so and all Art, not
       sold or gifted as set forth in the Agreement during its Term, shall be returned to 41 promptly at the sole expense of Art Port. 41 agrees to
       provide to Art Port within one (1) week of Art Port’s failure to provide items 1 and 2, a single destination for the return of all Art
                                                                  Review the information provided in items 1 and 2, and provide Art Port with either
                          within two (2) weeks of
              41
                             both items 1 and 2
                                                         4        its approval or a list of any questions or disagreements it has, with sufficient speci-
                                                                  ficity to allow Art Port to respond to each
       If 41 agrees with Art Port, skip to item 9
       CAVEAT 1: The Parties agree that, unless the questions raised by 41 (a) exceed ten percent (10%) of either the Net Recovery Amount or
       the total Market Price of the Art selected, or (b) question the authenticity of selections by Art Port with regard to Restricted Categories, the
       information provided by Art Port shall be automatically approved and the Parties shall skip to item 9
       While 41 is permitted to question the accuracy of Market Price and categorization of works selected, 41 agrees that it may not question or
       object to the merits of any Art selected by Art Port on any basis, including historical value, rarity, or other such factors
       REMEDY for Art Port: If 41 fails to provide item 4 on a timely basis, then items 1 and 2 shall be automatically approved, and the Parties
       shall skip to item 9
                          within two (2) weeks of                 Review the information provided in item 4 and provide its response, and any other
           Art Port
                                    item 4
                                                         5        further clarifying information, to 41
                                                                  The Parties shall confer diligently, applying reasonable and timely efforts, to re-
           Art Port           during the two (2)
            and 41        weeks following item 5
                                                         6        solve any differences that remain following item 5, using the same standard set
                                                                  forth in subpart (a) of caveat 1 above
                                                                  During item 5, the Parties shall agree on a public accounting firm (PAF) with not
           Art Port           during the two (2)
            and 41        weeks following item 5
                                                         7        less than ten (10) partners, to which the Parties, if unable to conclude item 6 suc-
                                                                  cessfully, will assign the final resolution of all matters remaining following item 6
       If the Parties reach agreement in item 6, skip to item 9
                           Immediately following                  The public accounting firm (PAF) shall resolve all remaining differences between
             PAF          items 5 & 6 for as long        8        the Parties and issue a report of their findings, which such report shall be binding
                            as PAF shall require                  upon both Parties
       If the PAF shall resolve sixty percent (60%) or more of the aggregate dollar value of all differences submitted in item 7 in favor of either Art
       Port or 41, the Party with the lesser dollar value of differences resolved in its favor, shall pay one hundred percent (100%) of the costs of
       the PAF. In all other cases, the Parties shall equally split the costs of the PAF.
                          within two (2) weeks of                 Transfer ownership of, and title in, the selection of Art in item 2 (as modified in sub-
              41
                               items 3, 5, or 7
                                                         9        sequent items above) to Art Port
                                                                  Release, and ship to 41, at Art Port’s sole expense, all remaining Art in its posses-
                          within two (2) weeks of
           Art Port
                               items 3, 5, or 7
                                                        10 sion, not sold or gifted as set forth in the Agreement during its Term or transferred
                                                                  as set forth in item 9


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                                                                                                                                  BOCA RATON
                                                                                                   301 E AST P IN E S T R E E T   FORT LAUDERDALE
                                                                                                                  S U IT E 1400   FORT MYERS
                                                                                             O R L AN D O , F LO R ID A 32801
                                                                                                                                  GAINESVILLE
                                                                                                        T E L 407-843-8880
                                                                                                                                  JACKSONVILLE
                                                                                                        F A X 407-244-5690

                                                                                                        gray-robinson.com         KEY WEST
                                                                                                                                  LAKELAND
                                                                                                                                  MELBOURNE
                                                                                                                                  MIAMI
                           407-843-8880
                                                                                                                                  NAPLES
             JASON.ZIMMERMAN@GRAY-ROBINSON.COM
                                                                                                                                  ORLANDO
                                                                                                                                  TALLAHASSEE
                                                          May 18, 2020                                                            TAMPA
                                                                                                                                  WASHINGTON, DC
                                                                                                                                  WEST PALM BEACH

VIA EMAIL AND FEDERAL EXPRESS (SIGNATURE REQUIRED)
Ms. Nancy Loving, Director and Registered Agent
Art Port, LLC
75 West Street, #17C
New York, NY 10006
ArtSuiteNY@gmail.com
Aly.ArtSuiteNY@gmail.com

           Re:      Termination of Portfolio Marketing and Management Agreement (“Agreement”) and
                    Demand for Immediate Return of Art

Dear Ms. Loving:

        We represent Studio 41, LLC (“41”) regarding Art Port, LLC’s default on the Agreement. Section
9.5 states, “both a monthly report of any sales, and payment thereof as due 41, shall be made by Art Port

following month.” Furthermore, Section 9.5 provides:

           Timeliness of monthly sales reports and payments shall be of the essence with regard to
           performance hereunder by Art Port. Any occurrence of three (3) or more failures by Art Port
           during any calendar year, or any continuing default beyond one (1) month from the date on
           which such report or payment was required, during the Term shall represent a de facto default
           by Art Port, upon which default 41 may, at its sole option, declare a Termination.

      Art Port failed in multiple respects, but specifically due to one continuing default beyond one
month. Therefore, 41 is hereby exercising its right, pursuant to section 9.5 of the Agreement, to
immediately declare a Termination1.

       We expect Art Port will comply with its post termination obligations under the Agreement,
including specifically Section 5.9 (Return of the Art) and any databases, images or intellectual property,
and immediately provide dates and times on which you will deliver the Art to 41’s soon to be leased
storage unit located at Sunshine Self Storage, 20555 Boca Rio Road, Boca Raton, FL 33434.


1
    Capitalized terms not defined in this letter are used as they are defined in the Agreement.



                                                      EXHIBIT "B"
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   GRAYROBINSON
      PROFESSIONAL ASSOCIATION




Ms. Nancy Loving, Director and Registered Agent
Art Port, LLC
May 18, 2020
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        Nothing herein releases Art Port from any outstanding obligations, including but not limited to, its
obligation to provide within one week a copy of the perpetual Loan Agreement Log, copies of any Loan
Agreements still active. Art Port must also provide any Database to 41 within one month.

       Thank you for your cooperation.

                                              Sincerely,




                                              Jason Zimmerman
